18-08245-rdd         Doc 33     Filed 10/04/19 Entered 10/04/19 15:16:56          Main Document
                                             Pg 1 of 14



Jeffrey Chubak
STORCH AMINI PC
140 East 45th Street, 25th Floor
New York, New York 10017
(212) 490-4100
jchubak@storchamini.com
- and -
Joseph D. Frank (admitted pro hac vice)
Jeremy C. Kleinman (admitted pro hac vice)
FRANKGECKER LLP
1327 West Washington Blvd., Suite 5G-H
Chicago, Illinois 60607
(312) 276-1400
jfrank@fgllp.com
jkleinman@fgllp.com

Attorneys for the Defendants

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                         Chapter 11

    THE GREAT ATLANTIC & PACIFIC TEA               Case No. 15-23007-rdd
    COMPANY, Inc., et al.,1
                                                   Jointly Administered
                           Debtors.
    THE GREAT ATLANTIC & PACIFIC TEA
    COMPANY, INC., et al.,

                                  Plaintiffs,

                           v.                      Adv. Proc. No. 18-08245-rdd

    PEPSICO, INC., et al.,                         STATEMENT OF FACTS IN
                                                   SUPPORT OF MOTION FOR
                                  Defendants.      SUMMARY JUDGMENT ON COUNTS
                                                   ONE THROUGH FOUR AND PARTIAL
                                                   SUMMARY JUDGMENT ON COUNTS
                                                   FIVE THROUGH TWENTY-FIVE

1
 The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live
Better, LLC; A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.;
Borman’s, Inc.; Delaware County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza
Corp.; Montvale Holdings, Inc.; Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.;
Plainbridge LLC; Shopwell, Inc.; Super Fresh Food Markets, Inc.; The Old Wine Emporium of Westport,
Inc.; Tradewell Foods of Conn., Inc.; and Waldbaum, Inc.


{PEPSICO/034/00056889.DOCX/}
18-08245-rdd         Doc 33    Filed 10/04/19 Entered 10/04/19 15:16:56              Main Document
                                            Pg 2 of 14




Introduction

        Defendants PepsiCo, Inc.; Bottling Group, LLC (d/b/a Pepsi Beverages Company and

f/d/b/a The Pepsi Bottling Group ); Frito-Lay North America, Inc.; Quaker Sales and

Distribution, Inc.; and Muller Quaker Dairy, LLC; (collectively “Pepsi”) make this Statement of

Material Facts in Support of Pepsi’s Motion for Summary Judgment on Counts One Through

Four and Partial Summary Judgment on Counts Five Through Twenty-Five (the “Motion”) in

accordance with Local Rule 7056-1. Where indicated, the documents and other materials cited in

this Rule 7056-1 Statement are being submitted as exhibits to (i) the Declaration of Joseph D.

Frank in support of the Motion, dated October 4, 2019 (the “Frank Declaration”), and (ii) the

Declaration of Jeremy C. Kleinman in support of the Motion, dated October 4, 2019 (the

“Kleinman Declaration”).2

        Pepsi is entitled to summary judgment on Counts One through Four of the Second

Amended Complaint filed by the Debtors (as defined in footnote 1) because the Debtors’ claims

in Counts One through Four are barred by the limitations on their avoiding powers set forth in 11

U.S.C. § 546(a)(1)(A) (“§ 546”). (Ex. 3, SAC).3 The Debtors filed their original Complaint in

this adversary proceeding (the “Case”) on April 16, 2018, (Ex. 1, Original Complaint), 4 more

than two years after the entry of the order for relief in the underlying bankruptcy case. (See In re

The Great Atlantic & Pacific Tea Co., Inc., 15-23007-rdd, Dkt. No. 1).




2
  Unless noted otherwise, all exhibits cited below as (Ex. ___) are located in the Frank Declaration.
Exhibits from the Kleinman Declaration are identified as (Kleinman Decl., Ex. __).
3
  Debtors’ Second Amended Adversary Complaint (Great Atlantic & Pacific Tea Co., Inc. v. PepsiCo,
Inc., 18-08245-rdd, Dkt. No. 17) (the “SAC”).
4
  Debtors’ Adversary Complaint (Great Atlantic & Pacific Tea Co., Inc. v. PepsiCo, Inc., 18-08245-rdd,
Dkt. No. 1) (the “Original Complaint”).
{PEPSICO/034/00056889.DOCX/}                       2
18-08245-rdd         Doc 33    Filed 10/04/19 Entered 10/04/19 15:16:56               Main Document
                                            Pg 3 of 14



        Pepsi is further entitled to partial summary judgment on the Debtors’ claims in Counts

Five through Twenty-Five, alleging breach of contract, promissory estoppel, and unjust

enrichment theories, that arise under contracts for sale and that accrued before April 16, 2014,

and are thus time-barred by Article 2 of the Uniform Commercial Code. See N.Y. Uniform

Commercial Code § 2-725. Pepsi is further entitled to partial summary judgment on the Debtors’

claims in Counts Five through Twenty-Five, not arising under contracts for sale, that accrued

before April 16, 2012 and are thus time-barred under the State of New York’s six-year statute of

limitations. See N.Y. Civil Practice Law § 213 (McKinney 2019). 5

The Bankruptcy Parties

        1.       On July 19, 2015 (the “Petition Date”), the Debtors filed their petitions for relief

in the United States Bankruptcy Court for the Southern District of New York (the “Court”), in

initiating the chapter 11 bankruptcy case captioned In re The Great Atlantic and Pacific Tea Co.,

Inc., et al., Case No. 15-23007-rdd (the “Bankruptcy Case”). [Bankruptcy Case Dkt. No. 1]6

        2.       On July 20, 2015, the Court entered an order granting the Debtors’ motion for

joint administration of their cases. [Bankruptcy Case Dkt. No. 57]

        3.       On July 24, 2015, William K. Harrington, the United States Trustee for District 2,

appointed seven of the Debtors’ creditors to the Official Committee of Unsecured Creditors (the

“Committee”) pursuant to 11 U.S.C. § 1102. [Bankruptcy Case Dkt. No. 164]




5
  The Debtors allege that “[a]s to the Fifth through Twenty-Sixth Causes of Action set forth below, GAPT
requests relief under the applicable common law (or laws) of express and implied contract, unjust
enrichment and promissory estoppel, including, but not limited to, the laws of the State of New York.”
(SAC, ¶ 22). Since the Debtors have not alleged the particulars of the contracts or transactions at issue,
Pepsi agrees to the application of New York law for the purpose of this Motion only.
6
  References to “Bankruptcy Case Dkt. No.” refer to filings on the docket in the Bankruptcy Case.
{PEPSICO/034/00056889.DOCX/}                        3
18-08245-rdd         Doc 33    Filed 10/04/19 Entered 10/04/19 15:16:56            Main Document
                                            Pg 4 of 14



        4.       The Debtors were managed by sophisticated businesspeople, some of whom were

members of Debtors’ management team during the Debtors’ prior chapter 11 cases filed in 2010.

(See, e.g., Ex. 5, McGarry Declaration, ¶¶ 1-2). 7

        5.       The Debtors were (and continue to be) represented by experienced counsel. (See,

e.g., Ex. 6, Weil Gotshal Retention Motion, ¶¶ 8-9). 8

The Global Settlement

        6.       On May 10, 2016, the Debtors and the Committee filed the Joint Motion of

Debtors and Official Committee of Unsecured Creditors for Approval of a Global Settlement

Pursuant to Bankruptcy Rule 9019(A) and Further Amending Debtors’ Authority to Use Cash

Collateral Pursuant to 11 U.S.C. §§ 105 And 363(C)(2) [Bankruptcy Case Dkt. No. 2786],

seeking approval of an attached Global Settlement Agreement among the Debtors, the

Committee, the Prepetition PIK Notes Trustee, the Prepetition Convertible Notes Trustee, the

Unions and the Pension Plans (collectively, the “GSA Parties”) (Ex. 7).

        7.       The Court granted the motion on June 6, 2016. (Ex. 5, GSA Approval Order). 9

        8.       The GSA Parties defined “Avoidance Action” in pertinent part as “an action or

other claim of the Debtors’ estates arising under sections 502(d), 544, 545, 547, 548, 549, 550 or




7
  Declaration of Christopher W. McGarry Pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the
Southern District Of New York [Bankruptcy Case Dkt. No. 4] (the “McGarry Declaration”).
8
  Application of Debtors Pursuant to 11 U.S.C. § 327(a), Fed. R. Bankr. P. 2014(a) and 2016 and Local
Rules 2014-1 and 2016-1 for Authority to Retain and Employ Weil, Gotshal & Manges LLP as Attorneys
for the Debtors Nunc Pro Tunc to the Commencement Date [Bankruptcy Case Dkt. No. 100] (the “Weil
Gotshal Retention Motion”).
9
  Order (A) Approving Global Settlement Agreement and (B) Further Amending Debtors' Authority to
Use Cash Collateral Pursuant to 11 U.S.C. §§ 105 and 363(c)(2) [Bankruptcy Case Dkt. No. 2868] (the
“GSA Approval Order”).
{PEPSICO/034/00056889.DOCX/}                      4
18-08245-rdd         Doc 33    Filed 10/04/19 Entered 10/04/19 15:16:56             Main Document
                                            Pg 5 of 14



553 of the Bankruptcy Code or any other avoidance actions under their state law analogs.” (Ex.

9, GSA, § 1).10

         9.      The GSA Parties agreed that the “Avoidance Actions shall be prosecuted by

the . . . Committee, which shall have full standing to do so on behalf of the Debtors’ estates.”

(Id., § 4(a)). They further agreed that “[t]he Committee’s prosecution of the Avoidance Actions

is subject to the direction of the Oversight Committee, comprised of one designee from the

Committee, one designee from the Debtors, and one designee from the Prepetition Notes Secured

Parties.” (Id., § 4(a)).

         10.     The GSA Approval Order provides that the Committee shall be authorized to

prosecute the Avoidance Actions on behalf of the Debtors’ estates, subject to the oversight and

direction of the Oversight Committee, in accordance with and subject to Sections 4(a) and (b) of

the Global Settlement Agreement. (Ex. 8, GSA Approval Order, ¶ 5).

         11.     Section 4(b) of the GSA provides a formula for dividing the proceeds of

Avoidance Actions between the Prepetition Notes Secured Parties and the Debtors’ estates. (Ex.

9, GSA, § 4(b)).

         12.     Section 4(a) of the GSA also provides that Pachulski, Stang, Ziehl & Jones LLP

(“Pachulski”) shall represent the Committee in prosecuting the Avoidance Actions but directs

that the Oversight Committee shall select alternative counsel if Pachulski has a conflict. (Id. §

4(a)).




10
  Global Settlement Agreement (In re Great Atlantic & Pacific Tea Co., Inc., 15-23007-rdd, Dkt. No.
2868-2) (the “GSA”).
{PEPSICO/034/00056889.DOCX/}                      5
18-08245-rdd         Doc 33    Filed 10/04/19 Entered 10/04/19 15:16:56               Main Document
                                            Pg 6 of 14



Pachulski Contacts Pepsi Regarding Avoidance Actions

         13.      On December 14, 2016, Pachulski partner Andrew W. Caine sent form letters

regarding “Potential Avoidance Claim” to multiple Pepsi-related entities (Kleinman Decl. Group

Ex. 1, Avoidance Letters).11

         14.      In the Avoidance Letters, Mr. Caine states that his firm represents the Committee.

(Id.).

         15.      In the Avoidance Letters, Mr. Caine states that “[t]he Committee is interested in

engaging in discussions aimed toward resolving these claims without the attendant time and

expense of litigation. We are willing to openly discuss the matter within the next thirty (30)

days.” (Id.).12




11
   December 14, 2016 demand letters from Pachulski partner Andrew Caine to Frito-Lay, Inc.; Pepsi-Cola
Bottling-Pennsauk; Pepsi-Cola-Hasbrouck Heights; Pepsi Metro Bottling Co.; Pepsi-Cola of Newburgh;
Pepsi-Cola Bottling Co.; and Pepsi-Cola Bottling of New York (the “Avoidance Letters”).
12
   For the avoidance of doubt, and out of an abundance of caution, Pepsi submits the Avoidance Letters
and various email messages that are related to settlement negotiations for an allowed purpose. See FED. R.
EVID. 408(c) (allowing evidence of settlement negotiations when the evidence is not used to disprove the
amount or validity of a claim). Submission of evidence to support an affirmative defense is a permitted
use because the affirmative defense involves issues other than the elements of the plaintiff’s claim. PRL
Holdings, Inc. v. US Polo Ass’n, Inc., 520 F.3d 109, 114-15 (2008); see also Faulkner v. Arista Records
LLC, 797 F.Supp.2d 299, 317 (S.D.N.Y. 2011) (following PRL and holding that Rule 408 did not exclude
evidence of communications offered to prove a statute of limitations defense because the evidence was
offered to prove that the plaintiff could not even assert its claims, rather than whether the claims were
valid.).

The Avoidance Letters and, with few exceptions, the subsequent email messages between counsel (See
Kleinman Decl., Ex. 2-16) do not actually contain offers or negotiations of compromise. The Avoidance
Letters are demand letters that indicate the Committee might be willing to compromise. The majority of
the email messages merely discuss the applicable filing deadlines and tolling agreements to extend them.
Where settlement discussions are arguably present in documents that are referenced exhibits to the
Kleinman Declaration, Pepsi has redacted the portions of those exhibits containing such discussions (See
Kleinman Decl. Ex. 7-9). If the Court would prefer unredacted versions of the redacted exhibits, Pepsi
proposes to submit such documents under seal. In addition, Pepsi will provide the Debtors with
unredacted copies of those exhibits.


{PEPSICO/034/00056889.DOCX/}                        6
18-08245-rdd         Doc 33    Filed 10/04/19 Entered 10/04/19 15:16:56             Main Document
                                            Pg 7 of 14



        16.      Following Pepsi’s receipt of the Avoidance Letters, Pepsi’s counsel Jeremy C.

Kleinman and Mr. Caine engaged in prolonged settlement discussions. (See, e.g., Ex. 8,

Kleinman Declaration, ¶ 3; see also Kleinman Decl. Ex. 2-16, email messages between A. Caine

and J. Kleinman; Ex. 10-14, Tolling Agreements (as defined below)).

The Tolling Agreements

        17.      Section 546 provides in pertinent part that an action or proceeding under section

544, 545, 547, 548, or 553 may not be commenced more than 2 years after the entry of the order

for relief. 11 U.S.C. § 546.

        18.      July 19, 2017 was the date two years after the entry of the order for relief in the

Debtors’ cases. (See Bankruptcy Case Dkt. No. 1).

        19.      On June 9, 2017, Mr. Caine wrote to Pepsi’s counsel, stating that the Committee

was beginning to prepare preference complaints “given the upcoming 2 year anniversary of the

July 19, 2015 petition dates.” (Kleinman Decl., ¶¶ 4-8; Kleinman Decl. Ex. 2, email with the

subject line “A&P preference/tolling stipulation” from Andrew Caine to Jeremy Kleinman and

Cozen O’Connor partner Mark E. Felger, dated June 9, 2017). Mr. Caine stated that “[t]he

Committee would prefer to postpone formal litigation with your clients while we continue

discussions toward informal resolution.” (Id.). Mr. Caine also proposed a tolling agreement

between Pepsi and the Committee. (Id.).

        20.      On June 19, 2017, the Committee and Pepsi entered into a tolling agreement

tolling statutes of limitation from July 17, 2017 through October 16, 2017 (Ex. 10, First Tolling

Agreement, ¶ 2).13 The Debtors were not parties to the First Tolling Agreement. (See id.).




13
 Stipulation and Tolling Agreement Extending Statutes of Limitation, dated June 19, 2017, between
Committee and Pepsi (the “First Tolling Agreement”).
{PEPSICO/034/00056889.DOCX/}                       7
18-08245-rdd         Doc 33    Filed 10/04/19 Entered 10/04/19 15:16:56           Main Document
                                            Pg 8 of 14



         21.     In the First Tolling Agreement, Pepsi and the Committee agreed that all statutes

of limitation applicable to “any cause of action brought by the Committee against Pepsi” would

be tolled and extended through October 16, 2017. (Id., § 2 (emphasis added)).

         22.     Pepsi and the Committee further agreed that the First Tolling Agreement was their

entire agreement and could only be modified by an agreement in writing. (Id., § 3(e)).

         23.     Pepsi and the Committee also agreed that the First Tolling Agreement was

without prejudice to either of their rights, privileges, and remedies under applicable law and that

each of them reserved such rights, privileges, and remedies. (Id., § 3(f)).

         24.     The Debtors never asked to be made parties to the First Tolling Agreement. (Ex.

10, Kleinman Declaration, ¶ 12).

         25.     The Debtors never entered into or asked Pepsi to enter into any tolling agreement.

(Id.).

         26.     The two-year anniversary of the order for relief passed without any tolling

agreement between Pepsi and the Debtors. (Id.).

         27.     After entering into the First Tolling Agreement, the Committee and Pepsi

continued informal settlement discussions. (Id.; see also Kleinman Decl. Ex. 9-11, email

messages between A. Caine and J. Kleinman; Ex. 11-14, Second through Fifth Tolling

Agreements (as defined below)). On or about October 2, 2017, the Committee proposed an

additional tolling of the statutes of limitations for the Committee. (See Kleinman Decl. ¶ 4,

Kleinman Decl. Ex. 10, email chain between A. Caine and J. Kleinman from October 2, 2017

through October 3, 2017).

         28.     On October 3, 2017, Pepsi and the Committee entered into an amended tolling

agreement extending the statutes of limitation from October 16, 2017 through December 16,



{PEPSICO/034/00056889.DOCX/}                      8
18-08245-rdd         Doc 33    Filed 10/04/19 Entered 10/04/19 15:16:56                Main Document
                                            Pg 9 of 14



2017 for the Committee. (Ex. 11, Second Tolling Agreement, ¶ 2). 14 The Debtors were not

parties to the Second Tolling Agreement. 15 (Id.).

        29.      Pepsi and the Committee continued their discussions and on December 6, 2017,

counsel for the Committee told Pepsi’s counsel that he had written to the Oversight Committee.

(Kleinman Decl. Ex. 12, email message with subject line “RE: A&P/2nd amended tolling

stipulation – Pepsi,” from A. Caine to J. Kleinman, dated December 6, 2017).

        30.      By December 11, 2017, Pepsi and the Committee had executed an additional

tolling agreement tolling the statutes of limitation through February 16, 2018 for the Committee.

(Ex. 12, Third Tolling Agreement, ¶ 2; Kleinman Decl. Ex. 13). 16 The Debtors were not parties

to the Third Tolling Agreement. (See id.).

        31.      In the Third Tolling Agreement, Pepsi and the Committee agreed that all statutes

of limitation applicable to “any cause of action brought by the Committee against Pepsi” would

be tolled and extended through February 16, 2018. (Id., § 2).

        32.      As Pepsi and the Committee continued their discussions, Pepsi and the Committee

executed another tolling agreement on February 5, 2018, this time tolling the statutes of

limitation through March 16, 2018 for the Committee. (Ex. 13, Fourth Tolling Agreement, ¶ 2). 17

The Debtors were not parties to the Fourth Tolling Agreement. (Id.).




14
   Amended Stipulation and Tolling Agreement Extending Statutes of Limitation, dated October 3, 2017,
between the Committee and Pepsi. (Ex. 11 (the “Second Tolling Agreement”).
15
   All the Tolling Agreements are identical except for the time period to be tolled. Because the statute of
limitations imposed by 11 U.S.C. § 546 had already run by the date of the Second Tolling Agreement, in
the interests of brevity, Pepsi has omitted “entire agreement” and “no waiver” sections from further
iterations with regard to the Third, Fourth, and Fifth Tolling Agreements.
16
   Second Amended Stipulation and Tolling Agreement Extending Statutes of Limitation, dated December
11, 2017, between the Committee and Pepsi (the “Third Tolling Agreement”).
17
   Third Amended Stipulation and Tolling Agreement Extending Statutes of Limitation, dated as of
February 15, 2018, between the Committee and Pepsi (the “Fourth Tolling Agreement”).
{PEPSICO/034/00056889.DOCX/}                        9
18-08245-rdd         Doc 33    Filed 10/04/19 Entered 10/04/19 15:16:56           Main Document
                                           Pg 10 of 14



        33.      In the Fourth Tolling Agreement, Pepsi and the Committee agreed that all statutes

of limitation applicable to “any cause of action brought by the Committee against Pepsi” would

be tolled and extended through March 16, 2018. (Id., § 2).

        34.      Discussions continued and on February 28, 2018, counsel for the Committee

wrote to Pepsi’s counsel:

        I believe that we are making a little progress, but A&P need [sic] more time to consider a
        response. The Oversight Committee wants to try to get a deal done, and has agreed to
        further extend the tolling to April 16. I will send you for [sic] their amended tolling
        agreements for review.

(Kleinman Decl. Ex. 15, email chain with the subject line “A&P,” from Andrew Caine to Jeremy
Kleinman, dated February 28, 2018-March 1, 2018, and accompanying message chain).

        35.      Pepsi and the Committee entered into their fifth and final tolling agreement

effective March 15, 2018. (Ex. 14, Fifth Tolling Agreement). 18 In the Fifth Tolling Agreement,

Pepsi and the Committee agreed that all statutes of limitation applicable to “any cause of action

brought by the Committee against Pepsi” would be tolled and extended through April 16, 2018.

(Id., § 2). The Debtors were not parties to the Fifth Tolling Agreement. (Id.).

The Haggen Case

        36.      On September 21, 2015, Pepsi was appointed to the Official Committee of

Unsecured Creditors (the “Haggen Committee”) in the bankruptcy case captioned In re Haggen

Holdings, LLC, No. 15-11874 and pending in the United States Bankruptcy Court for the District

of Delaware (the “Haggen Case”). (Ex. 15, Haggen Committee Appointment).19




18
   Fourth Amended Stipulation and Tolling Agreement Extending Statutes of Limitation, dated as of
March 15, 2018, between the Committee and Pepsi (the “Fifth Tolling Agreement” and with the First
through Fourth Tolling Agreements, the “Tolling Agreements”).
19
   Notice of Appointment of Creditors’ Committee (In re Haggen Holdings, LLC, 15-11874-kg, Dkt. No.
126) (the “Haggen Committee Appointment”).
{PEPSICO/034/00056889.DOCX/}                     10
18-08245-rdd         Doc 33    Filed 10/04/19 Entered 10/04/19 15:16:56           Main Document
                                           Pg 11 of 14



        37.      In December 2016, when Mr. Caine sent the Avoidance Letters (see Kleinman

Decl. Group Ex. 1, Avoidance Letters), Pepsi had been a Haggen Committee member for more

than a year. (See Ex. 15.).

        38.      When Mr. Caine sent the Avoidance Letters, Pachulski had been serving as

counsel to the Haggen Committee for over a year. (Ex. 16, Haggen Retention Order, ¶ 2). 20

        39.      Pachulski represented the Haggen Committee in litigation against the debtors’

lenders and equity holders where Pepsi, as a Haggen Committee member, produced confidential

documents and gave deposition testimony containing proprietary business information that

necessarily became known to Pachulski. (See Kleinman Declaration, ¶¶ 27-30).

        40.      Due to Pachulski’s possession of this information, on March 16, 2018, the day

after Pepsi and the Committee entered into the Fifth Tolling Agreement, Mr. Caine wrote to Mr.

Kleinman:

        I have just been told that the Oversight Committee has decided not to accept your clients’
        most recent offer, and will move forward with litigation. At PSZJ’s request, the
        Oversight Committee will engage new counsel to represent the estates.

        Feel free to call me if you like. I am sorry that we were not able to put together a
        resolution.

(Kleinman Decl. Ex. 16, email with the subject line “A&P/Pepsi & Canada Dry” from Andrew

Caine to Jeremy Kleinman and Mark Felger, dated March 16, 2018; see also, Kleinman

Declaration, ¶ 20).

The Adversary Proceeding

        41.      On April 16, 2018, almost nine months after the July 19, 2017 limitation date

imposed by § 546, the law firm Gibbons P.C. (“Gibbons”), purporting to act on behalf of both


20
  Order Authorizing and Approving the Retention of Pachulski Stang Ziehl & Jones LLP as Counsel to
the Official Committee of Unsecured Creditors Nunc Pro Tunc to September 21, 2015 (In re Haggen
Holdings, LLC, 15-11874-kg, Dkt. No. 670) (the “Haggen Retention Order”).
{PEPSICO/034/00056889.DOCX/}                     11
18-08245-rdd          Doc 33      Filed 10/04/19 Entered 10/04/19 15:16:56          Main Document
                                              Pg 12 of 14



the Committee and the Debtors, filed the complaint signed by David N. Crapo that initiated this

adversary proceeding. (Ex. 1, Original Complaint).

           42.     In the Original Complaint, the Debtor’s sought to avoid alleged preferential

transfers (id., Counts 1-10) and to recover on various contract and contract-related theories. (Id.,

Counts 11-41).

           43.     Without reference to specific transactions, the Debtors also alleged that they were

entitled to recovery on transactions with Pepsi dating back to December 24, 2010. (See, e.g. id.,

¶¶ 134, 138-42).

           44.     On April 17, 2018, Mr. Caine wrote to Mr. Kleinman that “Gibbons mistakenly

filed the complaint on behalf of the Committee. We have asked that they change the party to the

Debtors.” (Kleinman Declaration ¶ 24; Kleinman Decl. Ex. 18, email with the subject line “RE:

A&P,” from Andrew Caine to Jeremy Kleinman, dated April 17, 2018, and accompanying email

chain).

           45.     On April 23, 2018, the Debtors filed the FAC, naming themselves as sole

plaintiffs. (Ex. 2, FAC).21 By this time, both the § 546 statute of limitations and the agreed

tolling period for the Committee had passed. (See Bankruptcy Case Dkt. No. 1; see also Ex. 10-

14, Tolling Agreements).

           46.     In the FAC, the Debtors continued to assert preference claims (Id., Counts 1-8)

and contract and contract-related claims (Id., Counts 9-39) based on transactions with Pepsi

dating back to December 24, 2010 (See, e.g., id., ¶¶ 119, 123-27).

           47.     In the FAC, the Debtors state that:

           Neither the Settlement Order nor the GSA affords the Committee sole authority or
           standing to litigate Avoidance Actions on behalf of the Debtors’ estates, and neither the


21
     Debtors’ First Amended Complaint [Bankruptcy Case Dkt. No. 3] (the “FAC”).

{PEPSICO/034/00056889.DOCX/}                           12
18-08245-rdd          Doc 33      Filed 10/04/19 Entered 10/04/19 15:16:56          Main Document
                                              Pg 13 of 14



           Settlement Order nor the GSA impacts or limits the Debtors’ authority and standing to
           prosecute contractual claims on behalf of their bankruptcy estates[.]

(FAC, ¶ 7).

           48.     The Debtors further state that “[b]ecause this adversary proceeding includes both

Avoidance Action [sic] and contractual claims against the Defendant, the Debtors have elected to

prosecute this Adversary Proceeding themselves. Counsel for the Committee and the Lenders

have consented to the Debtors’ prosecution of this adversary proceeding.” (Id., ¶ 8).

           49.     On August 17, 2018, the Debtors filed the SAC, with identical paragraphs 7 and

8. (Ex. 3, SAC, ¶¶ 7-8).

           50.     In the SAC, the Debtors continued to assert preference claims (Id., Counts 1-4)

and contract and contract-related claims (Id., Counts 5-26) based on transactions with Pepsi

dating back to December 24, 2010 (See, e.g., id., ¶¶ 84, 88-92).

           51.     On October 4, 2018, Pepsi filed its Answer and Affirmative Defenses, including

its Fourth Affirmative Defense, based on the statute of limitations set forth in § 546, and its Fifth

Affirmative Defense, based on “the statute of limitations under the laws of the state of New

York.” (Ex. 4, Answer, Fifth Affirmative Defense).22

           52.     In its Answer, Pepsi responded to Debtors’ allegation that:

           Neither the Settlement Order nor the GSA affords the Committee sole authority or
           standing to litigate Avoidance Actions on behalf of the Debtors’ estates, and neither the
           Settlement Order nor the GSA impacts or limits the Debtors’ authority and standing to
           prosecute contractual claims on behalf of their bankruptcy estates.

(See Ex. 3, SAC, ¶ 7) by stating that “[t]he allegations in Paragraph 7 are conclusions of law as

to which no response is required. To the extent a response is required, Defendants lack




22
     Answer [Bankruptcy Case Dkt. No. 23] (the “Answer”).

{PEPSICO/034/00056889.DOCX/}                           13
18-08245-rdd         Doc 33    Filed 10/04/19 Entered 10/04/19 15:16:56          Main Document
                                           Pg 14 of 14



knowledge or information sufficient to form a belief about the truth of the allegations in

Paragraph 7.” (Ex. 4, Answer, ¶ 7).

Dated: October 4, 2019                        Respectfully submitted,
                                              THE PEPSI DEFENDANTS.


                                              By:     _/s/ Joseph D. Frank_______
                                                      One of their attorneys
Jeffrey Chubak
STORCH AMINI PC
140 East 45th Street, 25th Floor
New York, New York 10017
(212) 490-4100
jchubak@storchamini.com
- and -
Joseph D. Frank (admitted pro hac vice)
Jeremy C. Kleinman (admitted pro hac vice)
FRANKGECKER LLP
1327 West Washington Blvd., Suite 5 G-H
Chicago, Illinois 60607
(312) 276-1400
jfrank@fgllp.com
jkleinman@fgllp.com




{PEPSICO/034/00056889.DOCX/}                    14
